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IN THE UNITED STATES DIsTRIcT cOURT `?R D-C.
FOR THE wESTERN DISTRICT oF TENNESSE:E 954[}(; 29
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FLEM CALHOUN II,
Plaintiff,

VS. NO. 02-2462-Ml

FRISCO RAILROAD, Et al.,

Defendants.

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ORDER DENYING IRREGULAR MOTIONS
AND
ORDER DIRECTING CLERK NOT TO ACCEPT ANY DOCUMENTS
FOR FILING IN THIS CLOSED CASE

 

Plaintiff Flem Calhoun II, a/k/a John Flemming Martin,
filed a ppg §§ complaint on June 10, 2002 in connection with the
wrongful death of his grandfather, who apparently died in 1948.
Then-District Judge Julia Smith Gibbons issued an order on July 31,
2002 that granted leave to proceed in ;grma pauperis and dismissed
the Complaint, in its entirety, pursuant to 28 U.S.C. §
1915(e)(2)(B)(I) & (ii), as time barred. Judgment was entered on
August 12, 2002. The United States Court of Appeals for the Sixth
Circuit affirmed. Calhoun v. Frisco R.R., No. 02»6025 (6th Cir.

Mar. 28, 2003).1

 

1 Calhoun apparently filed a motion with the Supreme Court to direct
the clerk to file his untimely petition for a writ of certiorari, and his motion
(continued..J

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In the meantime, on August 19, 2002, Calhoun filed a
motion, entitled “Request the Commissioner of Social Security to
Make a Statement on the Issues," in which he asked the Court to
direct the Commissioner of Social Security to provide the correct
Social Security numbers for Flem Calhoun, the plaintiff's
grandfather, and Cora Calhoun, the plaintiff's grandmother. Judge
Gibbons denied that motion on August 26, 2002 because, ig;§; alia,
the district court had lost jurisdiction because the case was on
appeal. Plaintiff filed a notice of appeal with respect to this
order, and the Sixth Circuit affirmed, Calhoun v. Frisco R.R., No.
02-6216 (6th Cir. Feb. 10, 2004), cert. denied, 125 S. Ct. 332
(2004) (No. 04-5579).2

On February 28, 2005, plaintiff filed a motion for stay
of judgment, pursuant to 28 U.S.C. § 2101(f), in order to permit
him to file a petition for a writ of certiorari. Plaintiff's motion
is without merit for several reasons. First, the time has expired
for the plaintiff to file a petition for a writ of certiorari with
respect to the decision issued by the Sixth Circuit on March 28,

2003, and the plaintiff has already unsuccessfully petitioned for

 

1 (...continued)

was denied. Calhoun v. Frisco R.R., 123 S. Ct. 1706 (2004) (No. 03M51).

2 Calhoun subsequently filed a complaint with the United States Court
of Federal Claims in which he sought collateral relief from the Sixth Circuit’s
decision, and money damages, because Judge Gibbons was allegedly part of a
conspiracy to conceal the death of the plaintiff’s father. The Court of Federal
Claims dismissed the complaint for want of subject-matter jurisdiction, and the
United States Court of Appeals for the Federal Circuit affirmed. Calhoun v.
United States, 98 Fed. Appx. 840 (Fed. Cir. Apr. 6, 2004) (per curiam), cert.
denied, 125 S. Ct. 142, reh'g denied, 125 S. Ct. 683 (2004).

 

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a writ of certiorari with respect to the decision issued by the
Sixth Circuit on February 10, 2004. Thus, there is no decision
remaining on which plaintiff can seek Supreme Court review.
Although the plaintiff's motion refers to a pending petition for
rehearing, the Supreme Court denied the petition for rehearing on
November 29, 2004. Calhoun v. Frisco R.R., 125 S. Ct. 653 (2004).

Moreover, the issuance of a stay in this case would have
no practical effect. No order has been entered by any court that
requires any person to take, or to refrain from taking, any action.
The complaint was dismissed as time barred. The Sixth Circuit
agreed that the complaint was time barred. In the extremely
unlikely event further review is granted and these decisions are
vacated, the case can be heard on the merits.

The motion filed on February 28, 2005 is DENIED.

On July 11, 2005, plaintiff filed a motion for relief
from judgment pursuant to Fed. R. Civ. P. 60(b)(2) on the ground
that the dismissal order issued almost three years previously was
“erroneous, unfair, and an overt act in furtherance of the unlawful
conspiracy to conceal the wrongful death of Flem Calhoun.” This
motion is untimely, as it was not made within one year after the
entry of judgment in this case. Accordingly, this motion is DENIED.

The Clerk is further ORDERED not to accept for filing any

additional documents in this closed case, with the exception of a

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notice of appeal with respect to this order, without prior approval

of a district judge or magistrate judge of this district.

IT IS SO ORDERED this §§ l day Of August, 2005.

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J PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:02-CV-02462 Was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed.

 

Flem Calhoun
P.O. BOX 468
Jamul7 CA 91935

Honorable J on McCalla
US DISTRICT COURT

